                       IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 United States of America,                    )
                                              )
          Plaintiff,                          )               Case No: 23 CR 216-1
                                              )
                  v.                          )
                                              )               Magistrate Judge Jeffrey Cole
                                              )
 Eduardo G. Torres,                           )
                                              )
          Defendant.                          )


                                              ORDER

        Initial appearance and Removal hearings held. Defendant arrested on 4/15/23. Defendant
 informed of his rights and of the charges and the maximum penalties if he were to be convicted.
 Enter order appointing Victor Henderson as counsel from the CJA Panel for defendant for
 today’s proceedings only.

        Defendant waives identity hearing. Defendant consents to being transported in custody by
the US Marshals to the Western District of Michigan, and any issues of representation or bond can
be reasserted in the charging district, following the defendant's arrival. Time is excluded from
4/17/23 to the date of the hearing in the charging district. Defendant is remanded to the custody of
the U.S. Marshal for transport to the charging district.


 (T:05)




 Date: 4/17/23
                                              Jeffrey Cole
                                              United States Magistrate Judge
      A TRUE COPY-ATTEST
   THOMAS G. BRUTON,
                   -       CLERK
        By: s/ AMANDA KEIL
          DEPUTY CLERK
U.S. DISTRICT COURT, NORTHERN
       DISTRICT OF - ILLINOIS
            April 18, 2023
